AO 247 (NC/W 9/14)   Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Western District of North Carolina
                  United States of America
                               v.                                      )
                                                                       )   Case No:        0419 1:08CR00128
                      Dwayne Lee Thomas                                )   USM No:         22414-058
Date of Original Judgment:     July 24, 2009                           )
Date of Last Amended Judgment:                                         )   Ross Richardson
                                                                       )   Defendant’s Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of ☒ the defendant ☐ the Director of the Bureau of Prisons ☐ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
       ☐ DENIED. ☒ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 96 months and 1 day is reduced to time served plus 10 days.
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Original Offense Level:    29                Amended Offense Level:     25
Criminal History Category: III               Criminal History Category: III
Original Guideline Range:  120 to 135 months Amended Guideline Range: 70 to 87 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
☐ The reduced sentence is within the amended guideline range.
☐ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing and the reduced sentence is comparably less than the amended guideline range.
☐ The reduced sentence is above the amended guideline range.
☐ Amendment 782 is subject to a Special Instruction at USSG §1B1.10(e)(1) that reduced sentences shall not take effect
   until November 1, 2015, or later. Since this defendant’s projected GCT release date is, Amendment 782 is not
   applicable in this case.
☒ The Reduced sentence is based upon Amendment ☒ 750/780                ☐ 782
☐ Other (explain):
III. ADDITIONAL COMMENTS
Upon release from imprisonment, and absent a residential plan accepted by the U.S. Probation Office prior to release
from incarceration, it is ordered that as a condition of supervised release the defendant shall submit to the local Resident
Reentry Center for a period not to exceed 90 days, with work release, at the direction of the U.S. Probation Office.

Except as provided above, all provisions of the judgment dated July 24, 2009 shall remain in effect.
IT IS SO ORDERED.

Order Date:       December 2, 2014                                    Signed: December 2, 2014

Effective Date:
                  (if different from order date)




              Case 1:08-cr-00128-MR-WCM                         Document 622            Filed 12/02/14   Page 1 of 1
